Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 1 of 13




              UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

  BERKELEY VENTURES II, LLC,

       Plaintiff,

  v.
                                               Case No.: 1:19-CV-05523-SDG
  SIONIC MOBILE CORPORATION
  and RONALD D. HERMAN

       Defendants.


 PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
        TO JOIN THIRD- PARTY DEFENDANTS BERKELEY CAPTIAL
                 PARTNERS, LLC AND LINDA ROSSETTI

       COMES NOW Plaintiff Berkeley Ventures II, LLC (“Plaintiff”) and

hereby files its Response in Opposition (“Response”) to the Motion of

Sionic Mobile Corporation (“SMC”) for Leave to Join Third-Party

Defendants Berkeley Capital Partners, LLC (“BCP”) and Linda Rossetti

(“Rossetti”). For reasons shown herein, SMC’s Motion for leave to Join

Third Parties (“Motion”) is not supported by law and is not allowed under

the Federal Rules of Civil Procedure.




                                        -1-
    Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 2 of 13




         I.      Background Information.

On or about October 31, 2017, Plaintiff was introduced to an investment

opportunity, by a SMC board member, Mr. Patrick Gahan. 1 At a lunch

attended by Mr. Gahan (a board member of SMC), Mr. Matthew Norton and

Mr. Tony Palazzo (a representative of Plaintiff) Plaintiff was introduced to

SMC. At said meeting, Mr. Gahan told Mr. Palazzo about SMC and how

Mr. Gahan had invested in SMC and recommended that Plaintiff do the

same.2 Thereafter, SMC and Defendant reached out to Mr. Palazzo (as a

representative of Plaintiff) and provided a small amount of SMC corporate

documentation, including certain assertions made by both Mr. Gahan and

Mr. Herman as to the present and near-term financial viability of SMC.3 Mr.

Gahan even went so far as to tell Mr. Palazzo that he had previously done

due diligence and that Plaintiff must get in quick as the investment chance

was about to close.4

         After being introduced to the investment opportunity, Mr. Palazzo

asked for outsider opinions in this type of company as a way of doing some

due diligence. It was that research that led Mr. Palazzo to contact his long-

term friend and client, Ms. Linda Rossetti (“Rossetti”). Ms. Rossetti had


1 Mr. Gahan will be the subject of a forthcoming motion to add to be filed by Plaintiff.
2 See Email correspondence attached hereto as Exhibit A.
3 Id.
4 Id.



                                                 -2-
Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 3 of 13




vast experience in the area of payment systems which was allegedly the

primary industry segment of SMC.

          Due to the quick scheduled pushed upon Plaintiff by Defendant

Herman and Mr. Gahan, Rossetti did not even meet with any representative

of SMC until after Plaintiff made its investment. 5

          Based on the assertions made by two (2) members of the SMC board,

and the assurances put forth by SMC in the form of corporate documents,

Plaintiff ultimately invested $1,600,000.00 in SMC in or around December

5, 2017. Thereafter, Plaintiff introduce Ms. Rossetti to SMC an introduction

that was greatly appreciated and well received by Mr. Herman. In fact, Mr.

Herman was so impressed with Ms. Rossetti’s experience that he offered to

put her on the advisory board of SMC, and even thanked Mr. Palazzo for the

introduction. 6

          Ultimately, Ms. Rossetti did serve as an introduction to several key

players in the industry, however, SMC did not get any business from those

leads. Sometime in mid to late 2018, Plaintiff noticed that SMC’s financial

data was decreasing rather than the promised increased and noticed that the

alleged contracts that SMC had were in fact, not in place. Plaintiff filed the

instant action seeking damages under Rule 10(b)(5) securities fraud. Upon

5   See Exhibit B.
6   See Exhibit C.

                                         -3-
Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 4 of 13




seeing this lawsuit in the media, Ms. Rosetti resigned from the board of

SMC.

          The instant action is a very simple claim with very simple proof. At

its core, Plaintiff is seeking damages due to its ill-fated investment in SMC.

Plaintiff reasonably relied upon material misrepresentations made by SMC

(and its representatives) in connection with the sale of a security (stock in

SMC). For two (2) years, counsel for SMC has engaged in delay tactics and

mental fencing to accomplish everything other than getting to the facts

surrounding Plaintiff’s investment in SMC.

          SMC has known for two (2) years that Plaintiff was formed as a single

purpose investment vehicle to hold the shares of SMC. 7 In fact, this method

of corporate formation was approved counsel for SMC. 8 Additionally, it is

undisputed and clearly born out by the evidence attached hereto that Ms.

Rossetti had nothing to do with Plaintiff’s investment in SMC (as she did

not meet with Defendant Herman or any member of SMC until after made

its investment. Therefore, any claims as to Ms. Rossetti by SMC are not

necessary to the adjudication of this matter and only serves to muddy the

waters as SMC has sought to do for two (2) years now.




7   See Exhibit D.
8   Id.

                                        -4-
Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 5 of 13




           II.      Addition of BCP and Rossetti as Third-Party Defendants is
                    not Proper.


           Under Rule 14 of the Federal Rules of Civil Procedure, a defendant

party may serve a summons and complaint, on a non-party who is or may be

liable for all or part of the claim against it.9 It is extremely clear from this

language found in Rule 14(a), that in order to bring in a third party, the

allegations against the sought after third-party must not only relate to the

claims against the instant defendant, but also must in some degree depend

upon the outcome of the underlying action. 10

           Therefore, the analysis to be applied to SMC’s Motion is as such, are

BCP and Rossetti liable to SMC for any damages claimed by Plaintiff. It is

clear from the evidence before this Court that this simply cannot be the case.

Plaintiff was established by Mr. Palazzo as a special purpose entity to hold

the investment shares in SMC. No way could BCP be liable for the material

misrepresentations of Mr. Gahan, Mr. Herman and SMC in connection with

the sale of SMC shares. BCP is a larger umbrella investment company

which serves as an affiliate of Plaintiff and is in no way involved in the

funds transferred from Plaintiff to SMC which is the basis of this action.



9    Fed R. Civ. P. Rule 14(a).
10   Id.


                                          -5-
Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 6 of 13




      Likewise, Ms. Rossetti cannot be liable to Plaintiff based on

Plaintiff’s investment in SMC. Ms. Rossetti never met with or talked to

anyone at SMC prior to Plaintiff’s investment. Nor is there any evidence

that Ms. Rossetti was present or a party to any of the material

misrepresentations made by Mr. Gahan, Mr. Herman and SMC in

connection with the sale of SMC stock.

      Federal Rule 14 of the Rules of Civil Procedure governs a Court’s

ability to add third party defendants. In order to ensure that those parties

brought into the litigations are relevant the party seeking to add said parties

must show that the party being added is somehow liable to the defendant for

all or part of Plaintiff’s allegations. In the present matter that simply cannot

be the case. BCP is a related entity to the Plaintiff and did nothing other

than be related to the Plaintiff. There is no fact pattern whereby BCP could

be liable to Plaintiff for securities fraud. Similarly, there is no way that Ms.

Rossetti can be liable to the Plaintiff regarding the securities fraud

perpetrated by Mr. Gahan, Mr. Herman and SMC in this matter. It is

uncontroverted that Ms. Rossetti never even met with a representative of

SMC until after the investment was made. In a simple case of material

misrepresentations made to Plaintiff by Defendants (and Mr. Gahan) in

connection with the sale of SMC, there is simply no need to add BCP nor


                                       -6-
 Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 7 of 13




Rossetti as third parties. To do so would run afoul of the clear guidelines

found in Federal Rule Civil Procedure Rule 14(a) and would only serve

Defendant’s attempt to distract this Court from Defendants’ own egregious

actions.

          III.     Addition of BCP and Rossetti as Required Parties is not
                   Proper.


          In the alternative, Defendant SMC seeks to invoke Federal Rule of

Civil Procedure Rule 19. Specifically, this rule governs the criteria to join

“required” parties. In order to fit in the categories of Rule 19, a party must

be added if:

          a) In that person’s absence the court cannot accord complete relief

              among the existing parties; and

          b) That person claims an interest relating to the subject of the action

              and is so situated that disposing of the action in the person’s

              absence may (i) impair that person’s ability to protect their interest

              or (ii) leave an existing party subject to a substantial risk o

              incurring double or multiple inconsistent obligations because of

              that interest.11




11   Federal Rule of Civil Procedure Rule 19(a).

                                                   -7-
Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 8 of 13




           It is clear from this language that Congress intended that a party to be

joined under this Rule is “required” for complete relief for allegations

between the existing parties. When determining the “required” component,

the Court “pragmatic concerns, especially the affect on the parties and the

litigation control”.12 Additionally, the applicable case law is very clear in

the 11th Circuit, the “complete relief” rule refers to relief as between the

persons already parties, not as between a party and the absent party whose

joinder is sought.13

           In the present action, the allegations between Plaintiff and Defendants

is that Plaintiff made an investment in SMC based on material

misrepresentations. While it may be possible that Ms. Rossetti or others will

be called to testify as witness it is clear that relief can be awarded with their

joinder and as such neither BCP nor Rossetti are required parties as

necessary under Rule 19(a). As shown above, BCP is a related entity to

Plaintiff and has no further information about the investment that that which

can be offered by the Plaintiff which actually made the investment. Given

the nature of communications in the record, it is very clear that Defendants

were always aware of BCP’s simple relation to Plaintiff.




12   Challenge Homes, Inc. v. Greater Naples Care Center, Inc., 699 F.2d 667, 669 (11th Cir. 1982).
13   Heinrich v. Goodyear Tire & Rubber Co., 532 F. Supp. 1348, 1359-1360 (D. Md. 1982).

                                                  -8-
Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 9 of 13




        Additionally, Rossetti is not required for complete relief to be

awarded between the parties. As shown by the record, Ms. Rossetti never

even met with SMC or discussed Plaintiff’s investment until after said

investment was made in SMC. This is a simple case of securities fraud

which requires neither BCP nor Rossetti for full and complete relief between

the parties.14

        IV.      CONCLUSION

        SMC has moved this Court to permit its Motion to add third-party

Defendants either under Rule 14 or Rule 19 of the Federal Rules of Civil

Procedure. This matter at issue before the Court is a very simple securities

fraud claim. Defendant Herman and SMC made material misrepresentations

to Plaintiff in connection with the sale of a security. Throughout the two (2)

year history of this matter SMC has sought to contest all matters and being

incredibly litigious throughout. However, SMC has clearly been on notice

for all those two (2) years about the role of BCP and Rossetti, yet SMC

never moved to add them as parties until now.

        All the evidence in this matter points to the fact that neither BCP nor

Rossetti are necessary parties who’s presence is required in order for this


14 SMC’s Motion fails to meet the first criteria of Rule 19, assuming arguendo it does, SMC’s

motion clearly does not meet the four-prong analysis required thereafter under Ruel 19(b) as
neither BCP nor Rossetti are no parties are prejudice by a finding in this Court or that BCP’s or
Rossetti’s would be harm by the finding in this matter due to their absence.

                                                -9-
Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 10 of 13




Court to award complete relief to either Plaintiff or the Defendants. Without

that showing, the SMC’s Motion fails under both Rule 14 and Rule 19 of the

Federal Rules of Civil Procedure. Therefore, this Court must deny SMC’s

Motion as a matter of law.




This the 28th day of May, 2021.




                                      GODWIN LAW GROUP



                                      /s/ Jason B. Godwin
                                      Jason B. Godwin
                                      Georgia Bar No. 142226

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                                    -10-
Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 11 of 13




              UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

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  v.
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  SIONIC MOBILE CORPORATION
  and RONALD D. HERMAN

       Defendants.


     CERTIFICATE OF COMPLIANCE WITH L.R. 7.1, N.D. GA.
      The undersigned hereby certifies that this pleading was prepared using
one of the font and point selections approved by this Court in L.R. 5.1C,
N.D. Ga. Specifically, Times New Roman font in 14 point.

                                                  By: /s/ Jason B. Godwin
                                                  Jason B. Godwin, Esq.
                       Georgia Bar No. 14222




                                    -11-
Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 12 of 13




              UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

  BERKELEY VENTURES II, LLC,

       Plaintiff,

  v.
                                               Case No.: 1:19-CV-05523-SDG
  SIONIC MOBILE CORPORATION
  and RONALD D. HERMAN

       Defendants.


                     CERTIFICATE OF SERVICE
              I hereby certify that I have this day served a copy of the

foregoing PLAINTIFF’S RESPONSE TO DEFENDANT SIONIC

MOBILE CORPORATION”S MOTION TO ADD by depositing a copy

of same simultaneously with the initial complaint in this matter with

delivery to the following:

                                Simon Jenner
                                 Adam Ford
                      210 Interstate North Parkway, SE
                                  Suite 100
                           Atlanta, Georgia 30339

Submitted this 28th day of May, 2021.




                                    -12-
Case 1:19-cv-05523-SDG Document 128 Filed 05/28/21 Page 13 of 13




                                   GODWIN LAW GROUP

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